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               Defense Exhibit 1:

Military Awards and Commendations,

                        as well as

  Letters in Support of Awards and

                  Commendations

     (Private Identifiers Redacted)
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                                      UNIVERSITY OF MISSOURI
                                       COLUMBIA, MISSOURI




                                      THIS IS TO CERTIFY THAT
                             SGT CHRISTOPHER KUERNE, VSMC

was named as an Outstanding Community Service Volunteer by the University of Missouri
Naval Reserve Officers Training Corps   This award was based upon Sgt Kuehne s assietadac
with the effort to supply medical equipment to the Republic of Georgia      This reflects
highly upon him the Battalion, and the United States Naval Service



 THIS 29th   DAY OF August     200L
                                                                Capta        A 'Hawks, U S   Nan
                                                                        Commanding Officer
        Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 21 of 64




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SSN:                                     NAME: KUEHNE, CHRISTOPHE C.
PRES-GRADE: 03E                          DATE: 20131002


AWARDS


FROM     TO        TYPE    CODE   ENGLISH
19930406 19960405 1        GC     MARINE CORPS GOOD CONDUCT MEDAL
19971016 20000430 1        NA     NAVY AND MARINE CORPS ACHIEVEMENT MEDAL
20040906 20050228 1        NA     NAVY AND MARINE CORPS ACHIEVEMENT MEDAL
20041030 20041112 1        CR      COMBAT ACTION RIBBON
20060101 20061201 1        NC     NAVY AND MARINE CORPS COMMENDATION MEDAL
20060105 20061222 1        NC     NAVY AND MARINE CORPS COMMENDATION MEDAL
20060629 20060629 1        PH     PURPLE HEART
20070602 20100129 1        NC     NAVY AND MARINE CORPS COMMENDATION MEDAL
19930406 19930406 2        NN     NATIONAL DEFENSE SERVICE MEDAL
19940502 19941103 2        SD     SEA SERVICE DEPLOYMENT RIBBON
19960503 19960901 2        SD     SEA SERVICE DEPLOYMENT RIBBON
19970416 20000415 2        GC     MARINE CORPS GOOD CONDUCT MEDAL
20010911 20010911 2        NN     NATIONAL DEFENSE SERVICE MEDAL
20040908 20041108 2        SD     SEA SERVICE DEPLOYMENT RIBBON
20040913 20041213 2        WE      GLOBAL WAR ON TERRORISM EXPEDITIONARY MEDAL
20041101 20041130 2        WT      GLOBAL WAR ON TERRORISM SERVICE MEDAL
20060104 20061222 2        CI      IRAQ CAMPAIGN MEDAL
20060104 20061222 2        SD     SEA SERVICE DEPLOYMENT RIBBON
20070405 20070405 2        RD     KOREAN DEFENSE SERVICE MEDAL
19971101 20000531 3        MU     NAVY MERITORIOUS UNIT COMMENDATION
19990101 20001231 3        MU     NAVY MERITORIOUS UNIT COMMENDATION
20040802 20050201 3        NU     NAVY UNIT COMMENDATION
20040905 20050324 3        NU     NAVY UNIT COMMENDATION
20060204 20070104 3        NU     NAVY UNIT COMMENDATION
20060228 20070104 3        NU     NAVY UNIT COMMENDATION
19950403 19950512 4        CE      CERTIFICATE OF APPRECIATION
19971110 19971121 4        MT     MERITORIOUS MAST
20000125 20000125 4        LA      LETTER OF APPRECIATION
20000823 20000823 4        LA      LETTER OF APPRECIATION
20010101 20010101 4        LA      LETTER OF APPRECIATION
20010607 20010607 4        CF      CERTIFICATE OF COMMENDATION (INDIVIDUAL AWARD)
20040816 20040816 4        LA      LETTER OF APPRECIATION
20110609 20110609 4        LA      LETTER OF APPRECIATION
20120206 20130206 4        CF      CERTIFICATE OF COMMENDATION (INDIVIDUAL AWARD)
20130730 20130730 4        LA      LETTER OF APPRECIATION




GOOD CONDUCT MEDAL DATE:
SMCR MEDAL DATE:
ARMED FORCES RESERVE MEDAL DATE:
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                        BUMMARY OF ACTION

     Sergeant Kuehne's meritorious service while serving as
a   Range  Coach,    Block  Noncommissioned   Officer,   Pitt
Noncommissioned   Officer,   Company   Clerk,   and  Training
Noncommissioned Officer for .Field Trainino Company, Weapons
and Field Training Battalion, Marine Corps Recruit Depot,
Parris Island, South Carolina from 16 October 1997 to 30
April 2000 merits recognition by awarding of the Navy and
Marine    Corps     Achievement   _ Medal. _  His    specific
accomplishments include the following:

     Sergeant Kuehne arrived at Weapons and Field Training
Battalion on 16 October 1997 and was assigned as a range
coach.   His  outstanding   performance   resulted   in  his
promotion to the billet of Block Noncommissioned Officer
and subsequently to Pitt Noncommissioned Officer.   In these
billets    he  provided   instruction    and   training   to
approximately 3400 recruits in third phase marksmanship.

     His initiative and high level of performance resulted
in Sergeant Kuehne's selection to fill the billet of
company clerk for Field Training Company on 18 April, 1999.
His positive impact on the daily operations of the company
was immediate.  Sergeant Kuehne designed a database for the
collection  and   tracking  of  all   pertinent  information
relating to the Marines of the company.     The high quality
of this database, and its ease of use, resulted in its
adoption by the other companies within the battalion.

     Sergeant Kuehne next applied his organizational skills
to the method by which the company collected, recorded, and
reported its training statistics.     These efforts resulted
in  a   dramatic  increase  in  the   company's   ability to
accurately assess the training that   had been  conducted and
who had conducted this training.    His continuous vigilanOe
in this area resulted in every Marine assigned to the
company completing    their annual   training   requirements.
Sergeant Kuehne again became the       "go-to"  man for the
battalion in this field and offered help to the other
companies.

     When the Marine Corps transitioned to the Microsoft
Office computer programs, Sergeant Kuehne transitioned all
of the company's files to the new format in a timely and
accurate manner.  His most difficult task was transferriDg
the company's substantial database from Lotus Approach to
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Microsoft Access.     Self taught, Sergeant Kuehne spent
countless hours upgrading his skills in order to prevent
loss of critical data. His efforts have resulted in a 100%
transformation of critical information without any negative
impact on the day-to-day company operations.

     Finally,  Sergeant   Kuehne  played   a  key  role  in
providing information and encouragement to the Marines of
the battalion regarding educational opportunities in the
Tr -Command area.    On his own initiative, he created a
bulletin board and information kiosk where he posted
updated information regarding class schedules and locations
for college courses in the region.      Sergeant Kuehne has
also volunteered  significant periods of  his personal off-
duty hours to provide classes and training to the Marines
of the battalion on these benefits.

     Sergeant Kuehne's consistently noteworthy performance
and his many contributions to the success of Weapons and
Field   Training   Battalion,  contributed  immeasurably   to
mission  accomplishment,   and had  a  profound  and  lasting
impact on the recruits he trained and the coaches, drill
instructors and officers with whom he served.     His example
is forever burned in the .memories of all who observed his
performance.    Accordingly, Sergeant Kuehne is recommended
for the Navy and Marine Corps Achievement Medal with utmost
enthusiasm.
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                                   Citation

MERITORIOUS ACHIEVEMENT WHILE SERVING AS ASSISTANT OPERATIONS OFFICER,
MILITARY TRANSITION TEAM, 7TH IRAQI ARMY DIVISION HEADQUARTERS, I MARINE
EXPEDITIONARY FORCE FORWARD, FROM JANUARY TO DECEMBER 2006 IN SUPPORT OF
OPERATION IRAQI FREEDOM. LIEUTENANT KUEHNE WORKED TIRELESSLY WITH THE 7TH
DIVISION G-3 IN THE DEVELOPMENT OF A COMBAT OPERATIONS CENTER AND ITS
STANDARD OPERATING PROCEDURES, REPORTING PROCEDURES, AND THE ENUMERATION
OF MULTIPLE BATTLE DRILLS. HE EFFECTIVELY MANAGED FORMAL SCHOOL TRAINING FOR
THE ENTIRE DIVISION, TRAINED HIS COUNTERPART ON THE PROPER PROCEDURES, AND
MENTORED SEVERAL DIVISION TRAINING OFFICERS; HIS EFFORTS RESULTED IN OVER 400
IRAQI SOLDIERS ATTENDING FORMAL MILITARY SCHOOLING. SIMILARLY, HE AUTHORED THE
TRANSITION TEAM CONVOY ORDER, THE BASIS FOR MORE THAN 100 SUCCESSFUL
CONVOYS THROUGHOUT THE DANGEROUS ROADWAYS OF THE AL ANBAR PROVINCE.
CONSTANTLY FORWARD LOOKING, HIS EFFORTS WILL HAVE A LASTING IMPACT ON THE
IRAQI 7RH DIVISION AND THE MULTI NATIONAL FORCE WEST TRANSITION MISSION. FIRST
LIEUTENANT KUEHNE'S INITIATIVE, PERSEVERANCE, AND TOTAL DEDICATION TO DUTY
REFLECTED CREDIT UPON HIM AND WERE IN KEEPING WITH THE HIGHEST TRADITIONS OF
THE MARINE CORPS AND THE UNITED STATES NAVAL SERVICE.
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                             Summary of Action
First Lieutenant Christopher C. Kuehne is enthusiastically recommended for the
Navy and Marine Corps Commendation Medal. Lieutenant Kuehne distinguished
himself by providing exceptional meritorious service to the United States as
the Assistant Operations Officer and Training Officer, Military Transition
Team, 7th Iraqi Army Division, from January 2006 to December 2006 during
Operation IRAQI FREEDOM. He accomplished his duties as the Assistant
Operations Officer for the 7th Iraqi Division in an exemplary manner and has
used his previous training, operational experience and meticulous
organizational skills to tremendous advantage.

.Worked closely with Division G-3 in the creation of standard operating
procedures for the combat operations center (COC), division convoys and
execution of all facets of division leave.
.Trained & mentored multiple Division Training Officers to supervise training
effort of the Division headquarters and Brigades. His constant supervision
and attention to detail resulted in a comprehensive weekly division training
meeting, in which the division's separate companies provide the training plans
and requests to the training officer, the events are deconflicted and the
division is able to conduct better training with much greater management of
resources.
.Worked extensively on time consuming effort of translating and implementing
combat operations center battle drill with the Division G-3 staff. This
battle drill covered 28 possible scenarios to which the COC must be ready to
respond.
.Supervised the standardization of reporting formats within the 7th Division
COC and helped the Division G-3 accurately reflect Brigade & Battalion
information in reports and briefs.
.Assumed the duties of the MiTT Operations Officer on multiple occasions for
extended periods of time during his absence, particularly during the month of
June
.Constantly sought out greater responsibility and effectively worked with
officers far senior to him to communicate the needs and requirements for the
7th Division and the MiTT.
.Wrote military transition team combat convoy standard operating procedures
and planned nearly 100 convoys for MiTT and Division Headquarters, some
covering hundreds of kilometers. These procedures were so professionally
developed that many units took them on as their own convoy procedures with
very minimal changes.
.Vehicle commander and .50 caliber machine gun vehicle gunner for MiTT convoys
throughout Al Anbar province and to Baghdad and Taji.
.Lieutenant Kuehne also participated in foot patrols with Iraqi Army units.
During one of these patrols, the unit with which he was patrolling was
attacked by a vehicle borne improvised explosive device. Lt Kuehne was
treated for level III concussion and returned to duty. He pushed to return to
tactical duties as soon as medically authorized after his injuries.
.Thoughtful and analytical, he has tackled many difficult problems with an
impressive tenacity that ensures no stone is left unturned for an answer while
also writing with a skill not normally seen in an officer his grade.
.Coordinated and managed the formal training of nearly 400 soldiers and
officers throughout 7th Division in the Iraqi formal schools system over
twelve months.
.Conducted convoy training of Division Headquarters and Service and Military
Police companies with subjects including: convoy commander responsibilities;
key convoy leader responsibilities; rules of engagement; escalation of force;
convoy tactics, techniques and procedures; rehearsals; and immediate action
drills.
.Created an Arabic/English form for school submissions & student tracking that
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were adopted by Multi-National Corps-Iraq and Multi-National Security
Transition Command Iraq.
.Has spurred additional school opportunities for the 7th Division through his
initiative and successful coordination during Multi-National Corps Iraq
training conferences and extremely well written and well received after action
comments.
.Coordinated with training organizations to schedule training assets for
mobile training teams for each of 7th Division's Brigades.
.Conducted, supervised and/or assisted in numerous operational tasks to ensure
preparation, and readiness of the MiTT for multiple reports and briefs for
visits of distinguished visitors to include numerous general officers and high
ranking civilian personnel and elected officials.
.Tracked force generation and schools for 7th Division to accurately identify
the training and manning requirements and shortfalls.
.Created the assault support request tracking system for the MiTT that was
later adopted by I Marine Expeditionary Force (Forward) G-10 Iraqi Security
Forces section.
.Conducted duties as the MiTT ordnance officer for coordinate of repair and
maintenance of all weapons.
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                                          Citation
                   NC approved as NC by COL ANDREW SMITH on 01/26/2010
MERITORIOUS SERVICE AS A PLATOON COMMANDER, COMPANY B AND DEPUTY DIRECTOR,
DISTANCE LEARNING & TECHNOLOGY DEPARTMENT, MARINE CORPS INSTITUTE COMPANY, MARINE
BARRACKS WASHINGTON FROM OCTOBER 2007 TO MARCH 2010. CAPTAIN KUEHNES PROFESSIONAL
MILITARY DEMEANOR POSITIVELY REPRESENTED THE MARINE CORPS TO OVER 200,000 GUESTS
AND MOURNERS AS HE HOSTED OVER 50 PARADES AND CEREMONIES AND AS HE MARCHED IN 22
EVENING AND SUNSET PARADES, OVER 30 MILITARY FUNERALS AT ARLINGTON NATIONAL
CEMETERY, SIX TOMB OF THE UNKNOWN SOLDIER WREATH LAYING CEREMONIES, AND THREE
ARMED FORCES FULL HONORS PARADES. AS THE DEPUTY DIRECTOR FOR THE DISTANCE
LEARNING & TECHNOLOGY DEPARTMENT, HE LED 32 DISTANCE LEARNING INSTRUCTORS TO
STREAMLINE ANNUAL COURSE LISTINGS AND TRANSFER SIX PAPER BASED COURSES TO DIGITAL
COURSEWARE FORMAT, SAVING APPROXIMATELY $1 MILLION IN POSTAGE AND PRINTING COSTS. HE
SUPERVISED ALL PLANNING, ANALYSIS, DESIGN, DEVELOPMENT, IMPLEMENTATION AND
EVALUATION OF DISTANCE LEARNING COURSE PRODUCTION, ENSURING PROFESSIONAL SUPPORT
FOR 670,000 ANNUAL ENROLLMENTS. CAPTAIN KUEHNE'S TIRELESS EFFORTS AND DEDICATION TO
DUTY REFLECTED CREDIT UPON HIMSELF AND UPHELD THE HIGHEST TRADITIONS OF THE MARINE
CORPS AND THE UNITED STATES NAVAL SERVICE.




NAVMC 11533 (EF)
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                                            Summary of Action
Captain Christopher C. Kuehne, United States Marine Corps, is enthusiastically recommended for the Navy and
Marine Corps Commendation Medal for meritorious service while serving as a Ceremonial Platoon Commander
and Executive Officer for Company B and Deputy Director for the Distance Learning & Technology Department
for Marine Corps Institute Company, Marine Barracks Washington DC from June 2007 to March 2010.
Capt Kuehne has been an integral part of the outstanding performance of Marine Barracks Washington (MBW).
He has distinguished himself during his tenure at MBW as a marcher in Company B and has effectively led a
group of outstanding Staff Non-Commissioned Officers in the course writing of Professional Military Education for
Marines worldwide.
As a Ceremonial Platoon Commander for Company B, Captain Kuehne marched in over twenty-two (22)
Evening and Sunset Parades, conducted two (2) Presidential Golden Eagle Staff Cordon Exercises, participated
in over thirty (30) military funerals at Arlington National Cemetery, four (4) General Officer funerals, ten (10) field
grade funerals, three (3) company grade funerals, six (6) Tomb of the Unknown Soldier Wreath Laying
Ceremonies, and participated in three (3) Armed Forces Full Honors Parades in support of the mission at MBW.
Captain Kuehne held collateral duties as the Education Officer and the Voting Officer for Company B. In this
capacity, he personally assisted in enrolment of twenty-two (22) Marines in college level courses. Additionally, he
assisted three (3) Marines in completing and processing their Marine Enlisted Commissioning Program (MECEP)
packages. All of those three (3) packages were successfully processed and one (1) of those Marines is presently
attending college.
As the Voting Officer for Company B, Captain Kuehne received a 100% inspection rating on his desktop
procedures during a Commanding General Inspector General Inspection during his tenure in the company.
Additionally, he contacted and registered 312 Marines and civilians in preparation for the up-coming state and
local elections as well as the Presidential election.
Soon after being re-assigned to Marine Corps Institute (MCI) Company, Capt Kuehne quickly excelled in his
duties as the Deputy Director for the Distance Learning & Technology Department (DLTD). He made an
immediate and significant positive impact on the mission of MCI by ensuring that Marines deployed worldwide
were afforded the opportunity to retain proficiency and expand their MOS knowledge while broadening their
technical and tactical skills in the distance learning program. Capt Kuehne quickly developed priorities and
milestones for both the paper based and digital courses that reflects the strategic vision of MCI and the Marine
Corps. These initiatives will help support the future of distance education for the warfighter and ensure that DLTD
continues to be a touchstone distance learning organization.
Capt Kuehnes ability to stay focused and lead DLTD without interruption to the primary mission of DLTD is a
testament to his dedication and professionalism. MCI produced correspondence courses in support of Marines
and military personnel around the world that catered to annual enrollments of over 670,000. Captain Kuehne
supervised all aspects associated with course production, i.e. planning, analysis, design, development,
implementation and evaluation of distance learning course material. By identifying potential challenges in DLTD,
he was able to reset and refocus the planning to alleviate many immediate challenges while simultaneously
addressing issues that would impact DLTDs ability to accomplish future goals. Additionally, he hosted for
Evening & Sunset parades, he provided instructors for the conduct of Ceremonial Drill School and Ceremonial
Hosting School.
Capt Kuehne spent countless man hours going through the Marine Corps Institute Administration System
(MCIAS) identifying shortfalls for courses that are in need of review. Working with an outdated course listing of
114 active courses, Capt Kuehne coordinated with the Occ field sponsors and outside agencies to streamline the
annual course listing which deleted twenty-five (25) outdated courses and transferred at least six (6) paper
based courses to digitally. This effort saved at least a million dollars in postage and print annually. Additionally,
he supervised the completion and validation of seven (7) courses and review of over 114 courses. His
knowledge of the course design process is such that he has become a ready reference for all new officers and
Staff Non Commissioned Officers assigned to DLTD. Well versed in the various in applications, he has quickly
become an invaluable asset to DLTD and MCI.
He instructed and taught over 32 Distance Learning Instructors the DL process. Created a training process that
chunked information from beginning to end allowing the DLI and ISS to work as functional teams and take
training pauses and check for accuracy. Supervised and ensured that 2 courses that were over 48 months
behind production schedule were brought to standards (3550 Automatic Transmissions and 0381 Land
Navigation) and produced.
Captain Kuehne is an exceptionally skilled, mission oriented officer who brings a level of precision,
professionalism, and clear-eyed leadership to every task that comes before him. He created the Project of Action
& Milestones for the Leading Marines blackboard digital course after seeing a shortfall and a gap for more than
one (1) year and subsequently kick started the program forward with clearly defined timelines and expectations.
This led to a successful project team and course development implementation. Capt Kuehne is unquestionably
deserving of the recognition afforded through the awarding of the Navy and Marine Corps Commendation Medal.



NAVMC 11533 (EF)
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                                   Citation

HEROIC ACHIEVEMENT WHILE SERVING AS 1ST PLATOON COMMANDER, BATTERY G, 2D
BATTALION, 11TH MARINES, 1ST MARINE DIVISION IN SUPPORT OF OPERATION IRAQI
FREEDOM II FROM 6 SEPTEMBER 2004 TO 28 FEBRUARY 2005. DURING THIS PERIOD, FIRST
LIEUTENANT KUEHNE CONSISTENTLY DISPLAYED OUTSTANDING LEADERSHIP AND
TACTICAL EXPERTISE AS HE LED HIS PLATOON DURING THE CONDUCT OF 170 SQUAD AND
PLATOON SIZED COMBAT PATROLS ACROSS THE AL ANBAR PROVINCE. DURING OPERATION
PHANTOM FURY, HE DEMONSTRATED SUPERIOR PERSONAL COURAGE UNDER FIRE WHILE
EXPERTLY DIRECTING THE FIRES OF HIS MARINES AGAINST INSURGENT STRONGHOLDS
ALONG THE OUTSKIRTS OF FALLUJAH, FACILITATING THE SAFE MOVEMENT OF THE
DIVISION'S ASSAULT FORCES. HIS LEADERSHIP DIRECTLY CONTRIBUTED TO THE SECURITY
OF THOUSANDS OF IRAQI CITIZENS DURING CIVIL-MILITARY OPERATIONS IN FALLUJAH, AR
AR INTERNATIONAL BORDER CROSSING, AND AN NUKHAYB DURING THE IRAQI NATIONAL
ELECTIONS. FIRST LIEUTENANT KUEHNE'S INITIATIVE, PERSEVERANCE, AND TOTAL
DEDICATION TO DUTY REFLECTED CREDIT UPON HIM AND WERE IN KEEPING WITH THE
HIGHEST TRADITIONS OF THE MARINE CORPS AND THE UNITED STATES NAVAL SERVICE.
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                                      Summary of Action
First Lieutenant Kuehne is in receipt of Imminent Danger Pay. The combat destinguishing device
is authorized.

First Lieutenant Kuehne is enthusiastically recommended for the Navy and Marine Corps
Achievement Medal with Combat Distinguishing Device in recognition of his heroic performance
while serving as 1st Platoon Commander, Battery G, 2d Battalion, 11th Marines, 1st Marine
Division from 6 September 2004 to 28 February 2005 in support of Operation Iraqi Freedom II.
First Lieutenant Kuehne distinguished himself by performing his duties with outstanding
leadership, tactical expertise, and tenacious pursuit of mission accomplishment. His actions
reached beyond his platoon's achievements and were instrumental in the battery's operational
success.

Falling back on his prior-enlisted infantry background, First Lieutenant Kuehne personally
transformed a thirty eight man platoon of artillerymen, radio operators, scout observers, and fire
direction controlmen into a proficient rifle/military police platoon fully capable of operating
throughout the diverse security and stability environment associated with OIF II. Over the
course of the deployment, First Lieutenant Kuehne personally led and supervised his platoon
during the conduct of 170 squad and platoon sized patrols and operations, ranging from
integrated patrols with Iraqi Security Forces (ISF) along the Saudi/Iraqi international border to
sustained firefights in and around the outskirts of the city of Al Fallujah. His steadfast leadership
and work ethic directly contributed to the successful accomplishment of more than 500 battery
patrols and missions for a total of 245,000 accumulated miles. Given the battery's vast AO,
approximately 11.6% of Iraq, he and his subordinate leaders consistently operated far outside the
forward operations base (FOB). Often hours away from reinforcing combat power, MEDEVAC
support, and beyond the range of conventional communications, he relied solely on his own
judgment and technical and tactical proficiency in skills outside the realm of primary MOS to
ensure mission accomplishment and troop welfare. Further, he ensured his subordinate leaders
were capable to do the same.

Given the battery's large area of operations, First Lieutenant Kuehne's platoon was often
required to recon and secure the AO at a pace of two to three squad-size patrols per day.
Throughout this fast-paced operational tempo, he consistently trained, critiqued, and
encouraged his subordinate unit leaders to learn, grow, and assume responsibility for their
actions and decisions, fostering a tightly knit environment in which his Marines were able to
develop and rely on each other tremendously. He also intentionally placed his Marines in higher
level billets, forcing them to not only learn their specific billet, but often two to three billets
above. Knowing that the platoon would eventually return to CONUS and resume firing battery
operations, First Lieutenant Kuehne further integrated basic artillery knowledge and training as
part of the platoons Professional Military Education (PME) program, fostering artillery MOS
proficiency while his Marines operated in billets outside their MOS.

On 8 October 2004, during a routine patrol, local ISF leadership reported a weapons cache just 18
kilometers from the FOB. Upon arrival, First Lieutenant Kuehne cordoned off the suspected area,
and discovered 23 mortar rounds (one 82 mm and twenty two 120 mm). Following First
Lieutenant Kuehne's effective security of the site, and accurate reporting, the battery was able to
coordinate the removal of the ordnance by Explosives Ordnance Disposal (EOD) through higher
headquarters.

On 30 October 2004, the battery was tasked to send two reinforced platoons to support 1st
Marine Division during Operation Phantom Fury/AI Fajr in the vicinity of AO Fallujah. 1st platoon
was given a 12-hour warning order to organize and pack for an extended and uncertain mission.
First Lieutenant Kuehne planned and supervised his platoon's preparations, ensuring his
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Marines and all pertinent equipment and vehicles were properly prepared to complete any
possible mission assigned.

From 1-2 November 2004, on the outskirts of Al Fallujah, First Lieutenant Kuehne's platoon was
tasked to establish a blocking position vicinity division checkpoint 43, in order to stop all traffic
in the three eastbound lanes of the MSR. In order to support the mission, his platoon, in
conjunction with 2d Platoon, reoccupied the same position more than eight times, effectively
stopping all traffic and facilitating friendly movement. Utilizing appropriate escalation of force
techniques, his platoon effectively stopped numerous vehicles purposely or accidentally
attempting to bypass their position. Engaging with pyrotechnics, individual small arms and crew
served weapon systems, he ensured minimum civilian casualties were sustained while providing
maximum support to the mission.

During each occupation of the blocking position, First Lieutenant Kuehne's platoon received
sustained indirect fire, with rounds impacting within 150 meters from occupied positions.
Having a clear understanding of the mission, First Lieutenant Kuehne ensured his Marines were
effectively stopping all civilian traffic while taking advantage of the best possible cover, and
mutually supporting each position with direct fire weapon systems. As the indirect fire
continued, First Lieutenant Kuehne was able to identify the direction and distance of the enemy
fire and passed that information up the chain of command. His information helped queue the
counter battery radar at Camp Fallujah and soon thereafter, the enemy mortars were suppressed
by a nearby artillery firing battery.

On 1 November 2004, a military-age Iraqi male was observed attempting to emplace a suspected
improvised explosive devise (IED) approximately 200 meters from First Platoon's position. First
Lieutenant Kuehne immediately left the platoon's defensive cordon and led four Marines to
detain the Iraqi male, then effectively cordoned the area around the device. He then coordinated
with higher headquarters for EOD support and maintained security of the area west of the
blocking position, to the blocking position's direct front, redirecting MSR traffic away from the
suspected IED, identified as a large burlap sack with protruding wires. Upon EOD's arrival, First
Lieutenant Kuehne maintained security, allowing EOD to destroy the device.

From 4-5 November 2004, outside the town of Saqlawiyah, First Lieutenant Kuehne maintained a
24-hour traffic control point (TCP) at division checkpoint 286, stopping all traffic in on Main
Supply Route (MSR) Mobile just east of ASR Gold. As the battery's main effort, First Lieutenant
Kuehne expertly positioned his platoon's weapon systems, vehicle assets, and obstacles to
effectively secure all eastbound civilian traffic towards Al Fallujah. Throughout the night, First
Lieutenant Kuehne ensured position improvement, verified sectors of fire, and monitored troop
readiness and welfare. Ensuring proper and immediate escalation of force techniques, his
platoon effectively stopped numerous vehicles purposely or accidentally attempting to bypass
the TCP. While the MSR was closed to all civilian traffic attempting to enter or depart the city of
Al Fallujah, coalition forces movement had to remain unhindered. In order to facilitate friendly
movement, First Lieutenant Kuehne made numerous trips outside and through friendly lines in
order to escort friendly units through the TCP, coordinate with adjacent units, and balance and
maintain security and effective defensive capability.

From 5-7 November 2004, along the eastern edge of Al Fallujah, 1st Platoon was tasked to
establish guard positions along MSR Mobile in order to guard and provide freedom of maneuver
to the division's assault elements as they loaded their attack positions north of the city. Again
the battery's main effort, First Lieutenant Kuehne positioned his platoon along a portion of the
MSR near the Fallujah Cloverleaf, where enemy contact was imminent.

Each night, 1st Platoon received intense indirect fire (IDF), rocket, and small arms attacks, with
mortar and rocket fires impacting within 50 meters of their occupied positions. With limited
     Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 39 of 64




terrain to work with, negating his ability to reposition, First Lieutenant Kuehne remained fixed
while the enemy attempted to bracket his platoon's positions with mortar and rocket fire,
sustaining multiple rocket and mortar impacts within 50 meters of his positions. For two
consecutive nights, he repeatedly moved up and down the platoon's line, at great personal risk,
identifying insurgent firing positions and expertly directing the fires of his crew served weapons.
Due to his aggressive leadership and bold actions under fire, his Marines effectively suppressed
and destroyed every enemy attack. Composed and tenacious, First Lieutenant Kuehne motivated
and inspired his Marines to continue delivering effective fires on the enemy, all while retaining
situational awareness of the fight, to include the situation of the adjacent battery and battalion
units to his north and south.

Following the division's attack into Al Fallujah, First Lieutenant Keuhne's platoon was tasked to
provide security escort to the I MEF Civil-Military Operations Center in downtown Fallujah. He
led and supervised his platoon during 27 security escort missions in and around the destroyed
city, throughout the confusing maze of Fallujah's rubbled streets and various unit's zones and
sectors, maintaining security of his escorted convoy and proper coordination between different
units. This was successfully accomplished without the aid of detailed maps or proper
coordination information.

From 16-21 November 2004, Battery G maintained a presence at the Ar Ar international border
crossing between Iraq and the Kingdom of Saudi Arabia (KSA) during the final days of Umrah, an
Islamic event similar to the Hajj pilgrimage to Mecca. During this period, First Lieutenant Kuehne
led his platoon to supervise and gather information on the policies and procedures of the Iraqi
Department of Border Enforcement (DBE) operating the international Port of Entry (POE).
Throughout a 5-day period he directly supervised the DBE during the processing and inspection
of over 19,000 pilgrims re-entering Iraq from KSA.

On 31 December 2004, the battery was tasked to provide assistance over watch to the Ar Ar DBE,
POE, and border crossing during the Hajj. As the battery's main effort, First Lieutenant Kuehne
led his platoon to establish and secure a combat outpost near the Ar Ar POE, and begin battery
operations. Tasked to operate virtually independently 119 miles from the FOB, First Lieutenant
Kuehne ensured all necessary weapon systems, vehicles, equipment, and communications were
transported and properly employed in order to ensure security, safety, and successful mission
accomplishment. With numerous HQ Platoon attachments, and a heavy logistics train of Class I,
III, IV, and V supply materials, he quickly organized, positioned, and established an operational
and combat ready outpost. 1st Platoon's rapid and thorough occupation of the combat outpost
greatly facilitated both Battery G and Iraqi security throughout the pilgrimage, and set the
conditions for the battery's over watch and accurate reporting of over 22,000 pilgrims traveling to
and from Iraq through Ar Ar in over 900 vehicles.

From 28-31 January 2005, during the Iraqi National and Al Anbar Provincial Elections, First
Lieutenant Kuehne led his platoon during the three day continuous operation, securing a polling
center in An Nukhayb, establishing both an inner and outer defensive cordon around the polling
center, and providing "Guardian Angel" over watch positions to the battery's defensive cordon.
Once again the battery's main effort, he worked in close cooperation with local ISF and the
Independent Electoral Commission of Iraq (IECI). His dedication and the disciplined posture of
his Marines ensured a safe, secure environment for the Iraqi citizens of An Nukhayb. On
elections day, his efforts ensured security of the battery's Elections Support Team (EST) and 20
IECI workers to and from the polling center. After conducting a battle handover of the inner
cordon to ISF, and assuming positions in the battery's outer cordon around the town of An
Nukhayb, his Marines ensured the proper reporting and operations capability of the polling
center, proper chain of custody of all ballots and elections materials, and set the conditions for a
hugely successful elections turn-out of over 1,000 voters. The success of the An Nukhayb
election rivaled results posted in larger cities such as Ar Ramadi when comparing voter
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percentage to population.

Consistently the battery's main effort, First Lieutenant Kuehne always found a way to succeed
and excel, lending greatly to the battery's continued success. Given any order, he simply
focused on mission accomplishment, the welfare of the Marines, and got the job done. For his
personal initiative, exceptional resourcefulness, and devotion to duty throughout SASO and
combat, First Lieutenant Kuehne is recommended for the Navy and Marine Corps Achievement
Medal with Combat Distinguishing Device.
Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 41 of 64




                                        Krkitkir HuiSHOf




              November 9, 2001


              SSgt Christopher C Kuehne, USMC
              UMC ROTC

             Dear SSgt Kuehne

             Congratulations on being selected as a 201)1 Exercise Tiger
             Association Adopted Serviceman Your commitment to your
             country is something to be commended It is my pleasure to
             work in cooperation with the Exercise Tiger Foundation's Mid-
             Missoun Adopt a Serviceman Program in honoring you and
             thanking you for your service

             May we never forget the men and women who have sen ed
             before you, nor take for granted those who currently do and
             will in the future

             Thank you and congratulations

             Since



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Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 42 of 64




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         November 9, 201)1



         SSgt Christopher C Kuelme
         US Manne C orris
         ROTC-UMC

         Dear Sergeant Kuehne

         Cong;ratelatv3ns on receiving the 'Adopted Serviceman" award
         Please know how much your service and commitment to our nation is
         appreciated and revered by your fellow Americans

        It is an honor for me to tom with your family and friends in
        recognizing your achievements and accomplishments in the Armed
        Services of the United States

        Sincerely




        Matt Blunt

        II
Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 43 of 64




              Defense Exhibit 2:

    Filed Under Seal Pursuant to

                Protective Order
Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 44 of 64
Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 45 of 64




              Defense Exhibit 3:

    Filed Under Seal Pursuant to

                Protective Order
Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 46 of 64
 Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 47 of 64




               Defense Exhibit 4:

Receipt of Restitution Pre-Payment
                                            Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 48 of 64
 02/05/2024 04:31 PM                                                                                                                                             Version 7.0.2 Page 1   of 1

                                                                                     U.S. Courts
                                                                                 Case Inquiry Report
                                                          Case Number: DDCX121CR000160; Party Number: 001; Payee Code: N/A
                                                            Show Party Details: N; Show Payee Details: N; Show Transactions: Y




Case Number    DDCX121CR000160           Case Title   USA V. KUEHNE ET AL
Summary Party Information:
   Party#    Party Code   Party Name                            Account Code     Debt Type                             JS Account #          Total Owed    Total Collected Total Outstanding
   001       24PP017755   CHRISTOPHER KUEHNE                    DCXPA301         NOT OTHERWISE CLASSIFIED                                     2,000.00           2,000.00              0.00
                                                                                                                                              2,000.00           2,000.00              0.00

Registry Information:
   Depository Code     Depository Name                                         Account Type                                           Account Number   Depository Total
Transaction Information:
Document                      Document           Accomplished                                                     Party/Payee                             Doc    Trans
Type/Number*                  Date               Date             Line Type                      Amount           Name                                    Actn   Type     Fund
      Account                 Debt Type           Debt                                   Payee              Depository     Check
      Number                  Line#               Type                                   Line#              Line#          Number
CTC P011024DDCX121CR000160001410-JAN-24          11-JAN-24        PR                             2,000.00        CHRISTOPHER KUEHNE                       O      PG06     6855XX
      DDCX121CR000160-001     1                   NOT OTHERWISE CLASSIFIED


* Document Type Legend
    Document Type             Document Type Name
    CTC                       Cash Receipt - Courts CCA Automated
  Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 49 of 64




                Defense Exhibit 5:

Examples of 2020 Political Riot Case

            Dismissals in Portland
Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 50 of 64




                Case 3:20-cr-00442-HZ        Document 26        Filed 12/21/21     Page 1 of 1




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      Attorneys for United States of America


                                  UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON

                                          PORTLAND DIVISION

      UNITED STATES OF AMERICA                              3:20-cr-00442-HZ

                     v.                                     MOTION TO DISMISS WITH
                                                            PREJUDICE
      JOSHUA M. WARNER,
        aka EVA WARNER,

                    Defendant.

             The government moves the Court for an Order under Fed. R. Crim. P. Rule 48(a) to

      dismiss with prejudice the indictment against Defendant, in the best interests of justice.

      Defendant has successfully complied with the terms of the Deferred Resolution Agreement,

      including performing at least 30 hours of community service.

      Dated: December 21, 2021                              Respectfully submitted,

                                                            SCOTT ERIK ASPHAUG
                                                            Acting United States Attorney

                                                            /s/ Thomas S. Ratcliffe
                                                            THOMAS S. RATCLIFFE, ILSB #6243708
                                                            Assistant United States Attorney

     Motion to Dismiss with Prejudice                                                                Page 1
                                                                                          Revised February 2021
Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 51 of 64




                Case 3:20-cr-00250-HZ         Document 18        Filed 02/19/21    Page 1 of 1




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                                  UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

      UNITED STATES OF AMERICA                               3:20-cr-00250-HZ

                     v.
                                                             GOVERNMENT’S MOTION TO
      MARNIE SAMANTHA SAGER,                                 DISMISS INFORMATION WITH
                                                             PREJUDICE
                     Defendant.
                                                             Rule 48(a) Fed. R. Crim. P.


             United States of America moves to dismiss the information filed on July 22, 2020 with

      prejudice in the interest of justice. Fed. R. Crim. P. 48(a).

             Dated: February 19, 2021

                                                             Respectfully submitted,

                                                             BILLY J. WILLIAMS
                                                             United States Attorney

                                                             s/ Pamela Paaso
                                                             PAMELA PAASO
                                                             Assistant United States Attorney




     Motion to Dismiss Information with Prejudice                                                Page 1
Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 52 of 64




                  Case 3:20-mj-00170       Document 9       Filed 10/22/20      Page 1 of 1




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                                 UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON


      UNITED STATES OF AMERICA                             3:20-mj-00170

                     v.                                    MOTION TO DISMISS COMPLAINT
                                                           WITHOUT PREJUDICE
      THOMAS JOHNSON,

                    Defendant.


             The United States of America, by and through counsel, respectfully moves this Court,

      pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, for an order dismissing

      without prejudice the Complaint filed July 27, 2020, charging defendant with Assault on a

      Federal Officer.

             The government seeks this dismissal in the interests of justice.

      Dated: October 22, 2020                              Respectfully submitted,


                                                           BILLY J. WILLIAMS
                                                           United States Attorney

                                                           s/ Parakram Singh
                                                           PARAKRAM SINGH, OSB #134871
                                                           Assistant United States Attorney
     Motion to Dismiss Complaint                                                                  Page 1
                                                                                         Revised March 2018
Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 53 of 64




                Case 3:20-cr-00245-IM       Document 16       Filed 10/09/20    Page 1 of 1




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                                 UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON


      UNITED STATES OF AMERICA                             3:20-cr-00245-IM

                     v.                                    MOTION TO DISMISS WITH
                                                           PREJUDICE COUNT 1 OF
      JENNIFER LYNN KRISTIANSEN,                           INFORMATION

                    Defendant.


             The United States of America, by and through counsel, respectfully moves this Court,

      pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, for an order dismissing with

      prejudice Count 1 of the information filed July 21, 2020, charging defendant with Assault on a

      Federal Officer.

             The government seeks this dismissal in the interests of justice.

      Dated: October 9, 2020                               Respectfully submitted,


                                                           BILLY J. WILLIAMS
                                                           United States Attorney

                                                           s/ Parakram Singh
                                                           PARAKRAM SINGH, OSB #134871
                                                           Assistant United States Attorney
     Motion to Dismiss Count 1 of Information                                                    Page 1
                                                                                         Revised March 2018
Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 54 of 64




                Case 3:20-cr-00374-BR         Document 18       Filed 08/28/20    Page 1 of 1




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                                  UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

      UNITED STATES OF AMERICA                              3:20-cr-00374-BR

                     v.
                                                            GOVERNMENT’S MOTION TO
      TAYLOR CHARLES LEMONS,                                DISMISS INFORMATION WITHOUT
                                                            PREJUDICE
                     Defendant.
                                                            Rule 48(a) Fed. R. Crim. P.


             United States of America moves to dismiss the information filed on August 21, 2020

      without prejudice in the interest of justice. Fed. R. Crim. P. 48(a).

             Dated: August 28, 2020

                                                            Respectfully submitted,

                                                            BILLY J. WILLIAMS
                                                            United States Attorney

                                                            s/ Pamela Paaso
                                                            PAMELA PAASO
                                                            Assistant United States Attorney




     Motion to Dismiss Information without Prejudice                                            Page 1
Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 55 of 64




                Case 3:20-cr-00252-HZ         Document 16       Filed 12/04/20   Page 1 of 1




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                                  UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

      UNITED STATES OF AMERICA                              3:20-cr-00252-HZ

                     v.
                                                            GOVERNMENT’S MOTION TO
      GABRIEL REED HUSTON,                                  DISMISS INFORMATION WITHOUT
                                                            PREJUDICE
                     Defendant.
                                                            Rule 48(a) Fed. R. Crim. P.


             United States of America moves to dismiss the information filed on July 22, 2020

      without prejudice in the interest of justice. Fed. R. Crim. P. 48(a).

             Dated: December 4, 2020

                                                            Respectfully submitted,

                                                            BILLY J. WILLIAMS
                                                            United States Attorney

                                                            s/ Pamela Paaso
                                                            PAMELA PAASO
                                                            Assistant United States Attorney




     Motion to Dismiss Information without Prejudice                                            Page 1
Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 56 of 64




                Case 3:20-cr-00210-IM       Document 12       Filed 11/03/20    Page 1 of 1




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                                 UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON


      UNITED STATES OF AMERICA                             3:20-cr-00210-IM

                     v.                                    MOTION TO DISMISS
                                                           INFORMATION WITHOUT
      THEODORE MATTHEE O'BRIEN,                            PREJUDICE

                    Defendant.


             The United States of America, by and through counsel, respectfully moves this Court,

      pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, for an order dismissing

      without prejudice the Information filed July 7, 2020, charging defendant with Assault on a

      Federal Officer.

             The government seeks this dismissal in the interests of justice.

      Dated: November 3, 2020                              Respectfully submitted,


                                                           BILLY J. WILLIAMS
                                                           United States Attorney

                                                           s/ Parakram Singh
                                                           PARAKRAM SINGH, OSB #134871
                                                           Assistant United States Attorney
     Motion to Dismiss Information                                                             Page 1
Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 57 of 64




                Case 3:20-cr-00278-JO          Document 7      Filed 09/10/20    Page 1 of 1




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                                  UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

      UNITED STATES OF AMERICA                              3:20-cr-00278-JO

                     v.
                                                            GOVERNMENT’S MOTION TO
      PABLO AVVACATO,                                       DISMISS INFORMATION WITHOUT
                                                            PREJUDICE
                     Defendant.
                                                            Rule 48(a) Fed. R. Crim. P.


             United States of America moves to dismiss the information filed on July 27, 2020

      without prejudice in the interest of justice. Fed. R. Crim. P. 48(a).

             Dated: September 10, 2020

                                                            Respectfully submitted,

                                                            BILLY J. WILLIAMS
                                                            United States Attorney

                                                            s/ Pamela Paaso
                                                            PAMELA PAASO
                                                            Assistant United States Attorney




     Motion to Dismiss Information without Prejudice                                            Page 1
Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 58 of 64




                Case 3:20-cr-00286-MO         Document 9      Filed 11/30/20     Page 1 of 1



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                                 UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON

      UNITED STATES OF AMERICA                             3:20-cr-00286-MO

                     v.                                    GOVERNMENT’S MOTION TO
                                                           DISMISS INFORMATION WITH
      IAN ALEC WOLF,                                       PREJUDICE

                    Defendant.


             Plaintiff United States of America moves to dismiss this information with prejudice in the

      interest of justice. Defendant has completed the requirements for the deferred resolution

      agreement.

      Dated: November 30, 2020                             Respectfully submitted,

                                                           BILLY J. WILLIAMS
                                                           United States Attorney


                                                           _/s/ Ashley R. Cadotte________________
                                                           ASHLEY R. CADOTTE, OSB #122926
                                                           Assistant United States Attorney




      Motion to Dismiss Information with Prejudice                                                Page 1
Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 59 of 64




                Case 3:20-cr-00279-IM         Document 13       Filed 12/21/20   Page 1 of 1



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                                  UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

      UNITED STATES OF AMERICA                              3:20-cr-00279-IM

                     v.
                                                            GOVERNMENT’S MOTION TO
      DOUGLAS ROBERT DEAN,                                  DISMISS INFORMATION WITHOUT
                                                            PREJUDICE
                     Defendant.
                                                            Rule 48(a) Fed. R. Crim. P.


             United States of America moves to dismiss the information filed on July 27, 2020

      without prejudice in the interest of justice. Fed. R. Crim. P. 48(a).

             Dated: December 21, 2020

                                                            Respectfully submitted,

                                                            BILLY J. WILLIAMS
                                                            United States Attorney

                                                            s/ Pamela Paaso
                                                            PAMELA PAASO
                                                            Assistant United States Attorney




      Motion to Dismiss Information without Prejudice                                           Page 1
Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 60 of 64




                 Case 3:20-mj-00168        Document 18       Filed 01/20/21     Page 1 of 1




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                                 UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON


      UNITED STATES OF AMERICA                             3:20-mj-168

                     v.                                    MOTION TO DISMISS COMPLAINT
                                                           WITH PREJUDICE
      REBECCA MOTA GONZALEZ,

                    Defendant.


             The United States of America respectfully moves this Court, pursuant to Rule 48(a) of

      the Federal Rules of Criminal Procedure, for an order dismissing with prejudice the Complaint

      filed July 27, 2020, charging defendant with Assaulting a Federal Officer.

             The government seeks this dismissal in the interests of justice.

      Dated: January 20, 2021                              Respectfully submitted,


                                                           BILLY J. WILLIAMS
                                                           United States Attorney

                                                           s/ Parakram Singh
                                                           PARAKRAM SINGH, OSB #134871
                                                           Assistant United States Attorney


     Motion to Dismiss Complaint                                                                Page 1
                                                                                        Revised March 2018
Case 1:21-cr-00160-TJK Document 256-1 Filed 02/16/24 Page 61 of 64




                 Case 3:20-mj-00166        Document 14       Filed 01/22/21     Page 1 of 1




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      Attorneys for United States of America


                                 UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON


      UNITED STATES OF AMERICA                             3:20-mj-166

                     v.                                    MOTION TO DISMISS COMPLAINT
                                                           WITH PREJUDICE
      STEPHEN EDWARD O’DONNELL,

                    Defendant.


             The United States of America respectfully moves this Court, pursuant to Rule 48(a) of

      the Federal Rules of Criminal Procedure, for an order dismissing with prejudice the Complaint

      filed July 26, 2020, charging defendant with Assaulting a Federal Officer.

             The government seeks this dismissal in the interests of justice.

      Dated: January 22, 2021                              Respectfully submitted,


                                                           BILLY J. WILLIAMS
                                                           United States Attorney

                                                           s/ Parakram Singh
                                                           PARAKRAM SINGH, OSB #134871
                                                           Assistant United States Attorney


     Motion to Dismiss Complaint                                                                Page 1
                                                                                        Revised March 2018
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               Case 3:20-cr-00329-BR        Document 15       Filed 01/21/21     Page 1 of 1




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                                 UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

      UNITED STATES OF AMERICA                            3:20-cr-00329-BR

                     v.                                   GOVERNMENT’S MOTION TO
                                                          DISMISS INFORMATION WITH
      JEFFREE CHEYENNE CARY,                              PREJUDICE

                    Defendant.


             Plaintiff United States of America moves to dismiss this information with prejudice in the

      interest of justice. Defendant has completed the requirements for the deferred resolution

      agreement.

      Dated: January 21, 2021                             Respectfully submitted,

                                                          BILLY J. WILLIAMS
                                                          United States Attorney


                                                          _/s/ Ashley R. Cadotte________________
                                                          ASHLEY R. CADOTTE, OSB #122926
                                                          Assistant United States Attorney




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                                  UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

      UNITED STATES OF AMERICA                              3:20-cr-00247-IM

                     v.
                                                            GOVERNMENT’S MOTION TO
      JERUSALEM A. CALLAHAN,                                DISMISS INFORMATION WITHOUT
                                                            PREJUDICE
                     Defendant.
                                                            Rule 48(a) Fed. R. Crim. P.


             United States of America moves to dismiss the information filed on July 22, 2020

      without prejudice in the interest of justice. Fed. R. Crim. P. 48(a).

             Dated: February 16, 2021

                                                            Respectfully submitted,

                                                            BILLY J. WILLIAMS
                                                            United States Attorney

                                                            s/ Pamela Paaso
                                                            PAMELA PAASO
                                                            Assistant United States Attorney




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                Case 3:20-cr-00255-SI         Document 14       Filed 02/17/21    Page 1 of 1




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                                  UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

      UNITED STATES OF AMERICA                               3:20-cr-00255-SI

                     v.
                                                             GOVERNMENT’S MOTION TO
      NICHOLAS KLOIBER,                                      DISMISS INFORMATION WITH
                                                             PREJUDICE
                     Defendant.
                                                             Rule 48(a) Fed. R. Crim. P.


             United States of America moves to dismiss the information filed on July 23, 2020 with

      prejudice in the interest of justice. Fed. R. Crim. P. 48(a).

             Dated: February 17, 2021

                                                             Respectfully submitted,

                                                             BILLY J. WILLIAMS
                                                             United States Attorney

                                                             s/ Pamela Paaso
                                                             PAMELA PAASO
                                                             Assistant United States Attorney




     Motion to Dismiss Information with Prejudice                                               Page 1
